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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                              )
ERLIN EVER MENCIAS AVILA                      )
                                              )
              Plaintiff,                      )
                                              )
      v.                                      )       Civil Action No. 15-cv-2135 (TSC)
                                              )
MATTHEW DAILEY,                               )
                                              )
              Defendant.                      )
                                              )


                                             ORDER

       Plaintiff Erlin Ever Mencias Avila brings this case pursuant to 42 U.S.C. § 1983, alleging

that Defendant Matthew Dailey violated his Fourth and Fifth Amendment rights. On March 30,

2017 the court issued a Memorandum Opinion (ECF No. 38) and Order (ECF No. 39) granting

partial summary judgment to the Plaintiff, and finding that Defendant violated Plaintiff’s Fourth

Amendment rights, that there was a material issue of fact regarding whether Defendant violated

Plaintiff’s Fifth Amendment rights, and that Defendant was not entitled to qualified immunity for

either claim. Defendant filed a motion for reconsideration of the court’s ruling on Fourth

Amendment liability and qualified immunity. Because the court finds on reconsideration that

there exists a material issue of fact precluding the grant or denial of qualified immunity on

Plaintiff’s Fourth Amendment claim, Defendant’s motion for reconsideration will be partially

GRANTED. While the court’s original finding of liability for the Fourth Amendment violation

remains unaltered, a trial will be necessary to determine whether Defendant’s actions were

reasonable and whether he is accordingly entitled to qualified immunity.




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   I.       BACKGROUND

         The facts of this case are set out in more detail in the court’s March 30, 2017

Memorandum Opinion. Plaintiff, a home improvement contractor, was present at the scene of an

altercation between two other men. Plaintiff drove one of the men away from the restaurant

where the altercation took place in Plaintiff’s white work van, which was seized by the police

later that evening as potential evidence of a crime. The police searched the van pursuant to a

warrant several days later, and removed several items, but maintained possession of the van for

over a year, until January 13, 2016. The court previously determined that while the original

seizure of the van was lawful, the length of the seizure violated the Fourth Amendment. The

court found the seizure became unlawful after the van was searched because there was no

probable cause to continue to hold it after all items of evidentiary value had been removed.

Plaintiff seeks to hold Defendant Matthew Dailey, the Metropolitan Police Department (MPD)

officer who was the lead detective on the case, liable for the Fourth Amendment violation

pursuant to 42 U.S.C. § 1983. The court finds that a material issue of fact precludes any present

determination of whether Defendant is entitled to qualified immunity, since Defendant claims

that the United States Attorney’s Office (USAO) staff directed him to maintain possession of the

van to aid its continued investigation. This assertion, if true, would entitle Defendant to qualified

immunity. Therefore, there is a contested issue of material fact.

   II.      LEGAL STANDARD

         A. Motion for Reconsideration

         A court may revise or reconsider any non-final order “at any time before the entry of a

judgment adjudicating all the claims and all the parties’ rights and liabilities.” Fed. R. Civ. P.

54(b). Reconsideration of prior interlocutory orders is at “the discretion of the trial court.”

Lewis v. United States, 290 F. Supp. 2d 1, 3 (D.D.C. 2003). However, a court should only revise

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its order “as justice requires” or when “necessary under the relevant circumstances.” Judicial

Watch v. Dep’t of Army, 466 F. Supp. 2d 112, 123 (D.D.C. 2006). The court’s discretion is

“limited by the law of the case doctrine and subject to the caveat that where litigants have once

battled for the court’s decision, they should neither be required, nor without good reason

permitted, to battle for it again.” Singh v. George Wash. Univ., 383 F. Supp. 2d 99, 101 (D.D.C.

2005) (internal quotation marks omitted). Thus, in order to promote finality and protect the

court’s judicial resources, the court is loath to revisit its prior decision absent “extraordinary

circumstances such as where the initial decision was clearly erroneous and would work a

manifest injustice.” Shea v. Clinton, 850 F. Supp. 2d 153, 157–58 (D.D.C. 2012).

       A. Summary judgment

       Summary judgment is appropriate where there is no disputed genuine issue of material

fact and the movant is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a); Celotex

Corp. v. Catrett, 477 U.S. 317, 322–23 (1986). In determining whether a genuine issue of

material fact exists, the court must view all facts in the light most favorable to the nonmoving

party. See Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587–88 (1986)

(citing United States v. Diebold, Inc., 369 U.S. 654, 655 (1962)). The movant must rely on

materials in the record to demonstrate the absence of any genuinely disputed issues of material

fact. Fed. R. Civ. P. 56(a); Celotex Corp., 477 U.S. at 332. The nonmoving party, in response,

must present her own evidence beyond the pleadings to demonstrate specific facts showing that

there is a genuine issue for trial. Celotex Corp., 477 U.S. at 324. A fact is material if “a dispute

over it might affect the outcome of a suit,” and an issue is genuine if “the evidence is such that a

reasonable jury could return a verdict for the nonmoving party.” Holcomb v. Powell, 433 F.3d

889, 895 (D.C. Cir. 2006) (quoting Anderson v. Liberty Lobby Inc., 477 U.S. 242, 248 (1986))

(internal quotation marks omitted). The non-movant is “required to provide evidence that would

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permit a reasonable jury to find” in his or her favor. Laningham v. U.S. Navy, 813 F.2d 1236,

1242 (D.C. Cir. 1987) (citations omitted).

   III.      ANALYSIS

          Defendant asks the court to reconsider its grant of summary judgment and denial of

qualified immunity in part based on Plaintiff’s response to interrogatory number 7. The

interrogatory states: “Describe in detail any communications you had with any member of the

United States Attorney’s Office (“USAO”) following the September 6, 2014 seizure of your van

. . . .” Plaintiff’s response included the following statement: “I have been told that on August 17,

2015 . . . a paralegal at the WLC [Washington Lawyers’ Committee] tried to contact AUSA Kara

Traster by phone on my behalf to inquire about recovering my property . . . She successfully

reached AUSA Traster by phone the next day. AUSA Traster told [the paralegal] that my van

was being held as evidence in a criminal proceeding, but she did not explain why the van was

being held or how I could recover it or challenge its seizure.” (Pl. Resp. to Interrog. No. 7, Def.

Reply Ex. V, ECF No. 33-2).

          The court did not address this piece of record evidence, which was cited in and attached

to Defendant’s reply, in its March 30 Memorandum Opinion. While Plaintiff’s response

describing his representative’s conversation with an AUSA does not provide direct evidence of

the content of the AUSA’s communications with Defendant, a jury could infer from the response

that the AUSA directed Defendant to hold the van. The court denied qualified immunity based

in part on the absence, in Defendant’s deposition testimony, of any clear statement that the

AUSA had done so. See Mem. Op. at 14-15 (finding Defendant’s testimony about an

“evidentiary hold” placed on the van by the AUSA not suggestive that the “hold” applied after




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Plaintiff spoke with the MPD on September 11, 2014);1 15 (finding Defendant’s deposition

testimony did not suggest that anyone other than Defendant had “classified” the van as

evidence); 16 (noting Defendant did not testify that anyone at the USAO directed him to keep the

van). But Plaintiff’s response to the interrogatory serves to create enough of a dispute of fact to

put the question to a jury. If a jury finds that an AUSA did require Defendant to maintain

possession of the van, the court’s finding that Defendant violated Plaintiff’s Fourth Amendment

rights would still stand, but the court’s previous conclusion that Defendant violated clearly

established law in doing so would not. Qualified immunity is appropriate unless “existing

precedent [has] placed the statutory or constitutional question beyond debate,” White v. Pauly,


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  Defendant argues that the court misunderstood the timing of events surrounding the opening of
the grand jury investigation. The court believed that when Defendant referred to what he
perceived as an “evidentiary hold” that was to be in place “until we talked to [Plaintiff],” such a
hold would not have applied after September 11, 2014, when Plaintiff did talk to MPD. The
court’s inference was based in part on Defendant’s statement that he did not watch the videotape
of the September 11 interrogation testimony when he learned of its existence approximately one
week later, because a grand jury investigation had already been initiated. Defendant states in his
reconsideration motion that the grand jury investigation was not initiated until some time after
November 5, 2014. The timing is fuzzy: if the grand jury investigation was initiated in
November, it is unclear how the investigation’s existence could have inhibited Defendant from
watching the interrogation video sometime in late September.
Regardless, Plaintiff later appeared on March 13, 2015, in response to the USAO’s subpoena, but
the van was not released at that time. Nor was the van released after the May 2015 date to which
Plaintiff’s grand jury testimony was rescheduled. Any “continued need” based on the USAO or
MPD wanting to speak with Plaintiff should have dissipated at least by May 2015. But the van
was not released until January 2016. Additionally, the court will clarify that it is not persuaded
that the USAO or MPD wanting to speak with Plaintiff constituted probable cause. The court
made an inference about the timing of the grand jury investigation only to note that, even if
wanting to speak with Plaintiff constituted probable cause, such probable cause could not have
outlasted the time at which the MPD (for the second time, the first being the September 11, 2014
interrogation) and USAO did have the opportunity to speak to Plaintiff, which the court now
calculates at the latest to have been May 2015.
Because the court finds liability for the constitutional violation after the search was over, the
timing discussed here does not impact that finding. But to the extent Defendant was directed by
the USAO to keep the van until the MPD or USAO spoke with Plaintiff, the specific timing
impacts the extent of qualified immunity. The jury will therefore be called upon to sort out the
timing of Plaintiff’s conversations with the MPD and USAO.
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137 S. Ct. 548, 551 (2017) (quoting Mullenix v. Luna, 136 S. Ct. 305, 308 (2015)), and it is not

beyond debate that a police officer must release unconstitutionally seized property in direct

contradiction of a prosecutor’s request or direction. It is, however, as the court originally

concluded, well established that a continued seizure becomes unconstitutional when probable

cause for the seizure has dissipated. Absent specific direction from the USAO, Defendant’s

actions are not shielded by qualified immunity.

         The court therefore finds that a jury should be permitted to determine and assess the

content of any exchanges that took place between Detective Dailey and any AUSAs involved in

the investigation. Defendant will have the opportunity to more fully describe the contents of the

exchanges, a jury will be entitled to evaluate the credibility of Defendant’s live testimony at trial,

and Plaintiff will have the opportunity to challenge, through cross-examination or otherwise, the

proffered testimony. Defendant bears the responsibility, in his cross-motion for summary

judgment on qualified immunity, of demonstrating the absence of a triable issue of fact

pertaining to qualified immunity, and he has not carried that burden.

   IV.      Conclusion

          For the reasons set forth above, Defendant’s motion for reconsideration is hereby

GRANTED IN PART; Plaintiff’s motion for summary judgment is GRANTED as to liability but

DENIED as to qualified immunity; Defendant’s cross-motion for summary judgment is

DENIED.



Dated: August 1, 2017

                                               Tanya S. Chutkan
                                               TANYA S. CHUTKAN
                                               United States District Judge


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